Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 1 of 76 PageID #: 4817
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 2 of 76 PageID #: 4818
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 3 of 76 PageID #: 4819
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 4 of 76 PageID #: 4820
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 5 of 76 PageID #: 4821
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 6 of 76 PageID #: 4822
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 7 of 76 PageID #: 4823
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 8 of 76 PageID #: 4824
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 9 of 76 PageID #: 4825
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 10 of 76 PageID #: 4826
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 11 of 76 PageID #: 4827
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 12 of 76 PageID #: 4828
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 13 of 76 PageID #: 4829
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 14 of 76 PageID #: 4830
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 15 of 76 PageID #: 4831
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 16 of 76 PageID #: 4832
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 17 of 76 PageID #: 4833
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 18 of 76 PageID #: 4834
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 19 of 76 PageID #: 4835
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 20 of 76 PageID #: 4836
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 21 of 76 PageID #: 4837
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 22 of 76 PageID #: 4838
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 23 of 76 PageID #: 4839
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 24 of 76 PageID #: 4840
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 25 of 76 PageID #: 4841
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 26 of 76 PageID #: 4842
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 27 of 76 PageID #: 4843
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 28 of 76 PageID #: 4844
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 29 of 76 PageID #: 4845
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 30 of 76 PageID #: 4846
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 31 of 76 PageID #: 4847
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 32 of 76 PageID #: 4848
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 33 of 76 PageID #: 4849
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 34 of 76 PageID #: 4850
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 35 of 76 PageID #: 4851
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 36 of 76 PageID #: 4852
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 37 of 76 PageID #: 4853
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 38 of 76 PageID #: 4854
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 39 of 76 PageID #: 4855
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 40 of 76 PageID #: 4856
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 41 of 76 PageID #: 4857
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 42 of 76 PageID #: 4858
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 43 of 76 PageID #: 4859
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 44 of 76 PageID #: 4860
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 45 of 76 PageID #: 4861
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 46 of 76 PageID #: 4862
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 47 of 76 PageID #: 4863
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 48 of 76 PageID #: 4864
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 49 of 76 PageID #: 4865
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 50 of 76 PageID #: 4866
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 51 of 76 PageID #: 4867
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 52 of 76 PageID #: 4868
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 53 of 76 PageID #: 4869
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 54 of 76 PageID #: 4870
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 55 of 76 PageID #: 4871
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 56 of 76 PageID #: 4872
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 57 of 76 PageID #: 4873
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 58 of 76 PageID #: 4874
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 59 of 76 PageID #: 4875
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 60 of 76 PageID #: 4876
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 61 of 76 PageID #: 4877
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 62 of 76 PageID #: 4878
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 63 of 76 PageID #: 4879
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 64 of 76 PageID #: 4880
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 65 of 76 PageID #: 4881
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 66 of 76 PageID #: 4882
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 67 of 76 PageID #: 4883
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 68 of 76 PageID #: 4884
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 69 of 76 PageID #: 4885
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 70 of 76 PageID #: 4886
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 71 of 76 PageID #: 4887
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 72 of 76 PageID #: 4888
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 73 of 76 PageID #: 4889
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 74 of 76 PageID #: 4890
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 75 of 76 PageID #: 4891
Case 3:20-cv-00628 Document 93-5 Filed 08/31/22 Page 76 of 76 PageID #: 4892
